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     PROB 12A
     (7193)
                                      United States District Court
                                                    for
                                          District of New Jersey
                                Report on Offender Under Supervision

     Name of Offender William Henderson                                                           Cr,: 07-00549-00:5
                                                                                                   PACTS #: 48205

     Name of Sentencing Judicial Officer: Honorable William H. Walls

     Date of Original Sentence: 04/13/09

     Original Offense: Possession of Cocaine Base

     Original Sentence: Time Served (25 months incarceration), two-year-term of supervised release; drug testing
     and treatment; and DNA testing

     Type ofSupervision: Supervised Release                             Date Supervision Commenced: 04/13/09

                                       NONCOMPLIANCE SUMMARY

     The offender has not complied with the ibilowing condition(s) of supervision:

     Violation Number      Nature ofNoncomol lance

       I                   The offender tested positive for cocaine on September 22,2010 and October?,
                           2010.

     U.S. Probation Officer Action:

     The offender is currently receiving treatment at Integrity House to address his relapse issues, and he was
     returned to phase one ofthe random urine monitoring program.

                                                                       RespectfuLly submitted,

                                                                     By: Kellyanne Kelly
                                                                          Senior U.S. Probation Officer
                                                                     Date: 11105/10
     The Courts endorsement ofthepetition willserve asan official written reprlmandto the offender, unless the
     Court directs that additional action be taken asfoliows:


     [ J Submit a Request for Modilrmg the Conditions or Term of Supervision
     [ ) Submit a Request for Warrant or Summons                                     --


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